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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


     LUMINATI NETWORKS LTD.            §
                                       §
          Plaintiff,                   §
     v.                                §   Case No. 2:19-CV-00395-JRG
     TESO LT, UAB; OXYSALES, UAB;      §
     METACLUSTER LT, UAB;              §
                                       §
           Defendants.                 §



             LUMINATI’S OPENING CLAIM CONSTRUCTION BRIEF
                       (LOCAL PATENT RULE 4-5(a))
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I.     INTRODUCTION

       Derry Shribman and Ofer Vilenski, founders of Plaintiff Luminati Networks Ltd.

(“Luminati”), invented new methods for fetching content from a target server over the Internet

using intermediary third-party client devices, such as an individual’s cell phone, in order to make

the request from the third-party instead of the original requestor. These inventions are claimed

U.S. Patent Nos. 10,257,319 (the “’319 Patent”, Ex. A), 10,484,510 (the “’510 Patent,” Ex. B) and

10,469,614 (the “’614 Patent,” Ex. C) (collectively the “Patents-in-Suit” or “asserted patents”).

Using this novel service permits a user to access content from a server that might otherwise block

the request or return a fake response. For example, a retailer can use this service to request pricing

data from a competitor by appearing to that competitor as a potential customer.

       The parties in this case agree that many of the claim terms should be afforded their plain

and ordinary meaning. In some cases, however, additional clarification is important because under

the rubric of “plain meaning” Defendants in fact deviate from the plain meaning of the claim terms

as used in the patents in light of the clear prosecution history by interpreting “servers” and “client

devices” as interchangeable. As used in this patent claims, they are not. Defendants also assert

indefiniteness as to a variety of claim terms, but such arguments are baseless as these claims were

properly issued by the Patent Office and entitled to the presumption of validity.

II.    FACTUAL AND PROCEDURAL BACKGROUND

       A.      The Patents-in-Suit

       The Patents-in-Suit are directed to architecture and methods for fetching content over the

Internet. The ’319 and ’510 Patents, filed on April 20, 2018 and February 17, 2019 respectively,

are in the same family (“First Family”) with a shared specification claiming priority to the same

provisional application filed on October 8, 2009. The patents in the First Family are titled: “System




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Providing Faster and More Efficient Data Communication.” The ’614 Patent, filed on December

10, 2018, shares the same inventors, but is in a separate family (“Second Family”) with a separate

specification claiming priority to a provisional application filed on August 28, 2013. The ’614

Patent is titled: “System and Method for Improving Internet Communication by Using

Intermediate Nodes.” The asserted patents in both families claim methods utilizing a novel server

– client device – web server architecture, whereby a client device serves as a proxy between the

server and web server.

       The ’319 and ’510 Patents create a “system designed for increasing network

communication speed for users…” Ex. A at Abstract. 1 The ’319 and ’510 Patents discuss that

previous “proxy servers” fail to provide a “comprehensive solution for Internet surfing,” in part

because they “would need to be deployed at every point around the world where the Internet is

being consumed.” Id. at 2:24-27; see also 2:8-23. Instead, to create a new type of consumer-based

network that never existed before, these patents employ “client devices” that operate as proxies.

Id. at 3:13-55. The client devices are modified to function as a client, peer or agent and serve as a

proxy in the system, permitting “any number of agents and peers.” Id. at 4:43-64.

       Similarly, the ‘614 Patent creates a client device network of “tunnel devices” that are

client devices within a server – client device – web server architecture. Ex. C at 1:19-23.

       Each of devices herein may consist of, include, be part of, or be based on, a part of,
       or the whole of, the computer 11 or the system 100 shown in FIG. 1. Each of the
       servers herein may consist of, may include, or may be based on, a part or a whole
       of the functionalities or structure (such as software) of any server described in the
       ‘604 Patent, such as the web server, the proxy server, or the acceleration server.
       Each of the clients or devices herein may consist of, may include, or may be based
       on, a part or a whole of the functionalities or structure (such as software) of any
       client or device described in the ’604 Patent, such as the peer, client, or agent


1
 For simplicity, all references to the shared specification of the ’319 and ’510 Patents will be
made to the specification of the ’319 Patent at Ex. A, but will be understood to include the
corresponding citation from the ’510 Patent at Ex. B.


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       devices.

       In one example, an accessing to a data server is improved by using an intermediate
       device referred to as ‘tunnel’ device, that is executing a ‘tunnel’ flowchart. FIG. 5
       shows a system 30 including two client devices, a client device #1 31a and a client
       device #2 31b, that may access the data 20 servers 22a and 22b using one or more
       of a tunnel device #1 33a, a tunnel device #2 33b, and a tunnel device #3 33c, under
       the management and control of an acceleration server 32. These network elements
       communicates with each other using the Internet 113.

       Ex. C at 83:4-15.




       The ’614 Patent further improves on the above network by having the proxy client devices

dynamically shift between two states based on a criteria. Specifically, the client (tunnel) device

is available as a proxy in the first state (for example, when there is sufficiently available

bandwidth) but unavailable in the second state (for example, when there is not sufficiently

available bandwidth). Criteria-based dynamic switching improves the performance of the system

by maintaining a new, dynamic network made exclusively of available client devices that can meet

a given performance criteria. Ex. C at 124:3-13.

       A problem in the art was the fact that certain websites with public information nevertheless

create technological roadblocks to obtaining that information from certain requesting devices. For

example, it is a routine practice of companies to obstruct their competitors from accessing the


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company’s otherwise publicly available pricing information. To overcome these artificial

hinderances, the proxy service of the claims sends requests through one or more of a large group

of proxy client devices, such as individual cell phone devices. As the proxy devices belong to real

people who otherwise send such requests to target web servers as customers, the target will allow

the queries and not artificially block them.

       B.      The Asserted Claims

       In the present action, Luminati asserts infringement of independent claim 1 and dependent

claims 2, 14, 15, 17, 18, 21, 22, 24, 25, 26, and 27 of the ’319 Patent, independent claim 1 and

dependent claims 2, 8, 9, 10, 11, 13, 15, 16, 18, 19, 20, 22, and 23 of the ’510 Patent, and

independent claim 1 and dependent claims 2, 4, 5, 6, 7, 9, 10, 11, 12, 15, 16, 17, 18, 19, 20, 22,

23, 25, 26, 28 and 29 of the ’614 Patent.

       Although each of the Asserted Claims involve methods performed within a server – client

device – web server architecture, the claim terms differ int hat the “first” server in the ’319 and

’510 Patents is referred to as the “second”

server in the ’614 Patent. Fig. 3 is annotated

below to illustrate the claimed steps [A],

[B], [C], [D], and/or [E] performed by the

client device in conjunction with the server

and web server.

       Regarding the First Family of

patents, representative independent claim 1

of the ’319 Patent claims as follows:

       1. A method for use with a first client device, for use with a first server that
       comprises a web server that is a Hypertext Transfer Protocol (HTTP) server that


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       responds to HTTP requests, the first server stores a first content identified by a first
       content identifier, and for use with a second server, the method by the first client
       device comprising:
               [B] receiving, from the second server, the first content identifier;
               [C] sending, to the first server over the Internet, a Hypertext Transfer
       Protocol (HTTP) request that comprises the first content identifier;
               [D] receiving, the first content from the first server over the Internet in
       response to the sending of the first content identifier; and
               [E] sending, the first content by the first client device to the second server,
       in response to the receiving of the first content identifier.

       Representative independent claim 1 of the ’510 Patent claims as follows:

       1. A method for use with a web server that responds to Hypertext Transfer Protocol
       (HTTP) requests and stores a first content identified by a first content identifier, the
       method by a first client device comprising:
               [A] establishing a Transmission Control Protocol (TCP) connection with a
       second server;
               [C] sending, to the web server over an Internet, the first content identifier;
               [D] receiving, the first content from the web server over the Internet in
       response to the sending of the first content identifier; and
               [E] sending the received first content, to the second server over the
       established TCP connection, [B] in response to the receiving of the first content
       identifier.

       Dependent claim 2 of the ’319 Patent adds to claim 1 the element of “wherein the first

client device is identified by a Media Access Control (MAC) address or a hostname, and wherein

the method further 35 comprising sending, by the first client device, during, as part of, or in

response to, a start-up of the first client device, a first message to the second server, and wherein

the first messages comprises the first IP address, the MAC address, or the hostname,” while

dependent claim 2 of the ’510 Patent adds the identical element to claim 1, except that the

underlined term is “the first client IP address.” Dependent claims 14 and 10 of the ’319 and ’510

Patents respectively add to claim 1 “further comprising determining, by the first client device, that

the received first content, is valid.” Dependent claims 15 and 11 of the ’319 and ’510 Patents

respectively add to claim 14 and 10 respectively “wherein the determining is based on the received

HTTP header according to, or based on, IETF RFC 2616.” Dependent claims 17 and 8 of the ’319



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 and ’510 Patents respectively add to claim 1 “further comprising periodically communicating

 between the second server and the first client device.”

        Dependent claim 13 of the’510 Patent adds to claim 1, the element of “for use with a

 software application that includes computer instructions that, when executed by a computer

 processor, cause the processor to perform the sending of the Hypertext Transfer Protocol (HTTP)

 request, the receiving and storing of the first content, the receiving of the first content identifier,

 and the sending of the part of, or the whole of, the stored first content, the method is further

 preceded by: downloading, by the first client device from the Internet, the software application;

 and installing, by the first client device, the downloaded software application.”

        Regarding the Second Family, representative independent claim 1 of the ’614 Patent

 claims as follows:

        1. A method for use with a resource associated with a criterion in a client device
        that communicates with a first server over the Internet, the client device is
        identified in the Internet using a first identifier and is associated with first and
        second state according to a utilization of the resource, the method comprising:
                [A] initiating, by the client device, communication with the first server
        over the Internet in response to connecting to the Internet, the communication
        comprises sending, by the client device, the first identifier to the first server over
        the Internet;
                when connected to the Internet, periodically or continuously determining
        whether the resource utilization satisfies the criterion;
                responsive to the determining that the utilization of the resource satisfies the
        criterion, shifting to the first state or staying in the first state;
                responsive to the determining that the utilization of the resource does not
        satisfy the criterion, shifting to the second state or staying in the second state;
                responsive to being in the first state, receiving, by the client device, a
        request from the first server; and
                performing a task, by the client device, in response to the receiving of the
        request from the first server,
                wherein the method is further configured for fetching over the Internet a
        first content identified by a first content identifier from a web server that is distinct
        from the first server, and the task comprising:
                [B] receiving, by the client device, the first content identifier from the first
        server;
                [C] sending, by the client device, the first content identifier to the web



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        server;
                [D] receiving, by the client device, the first content from the web server in
        response to the sending of the first content identifier; and
                [E] sending, by the client device, the received first content to the first
        server.

        Dependent claim 7 adds to claim 1 the element of “wherein the steps are sequentially

 executed.” The below Fig. 13 of the ’614 Patent has been modified to illustrate the above steps

 identified as [A] through [E], each of which is performed by the “client device”:




 Ex. C at Fig. 13.

 III.   LEGAL STANDARDS FOR CLAIM CONSTRUCTION

        The proper construction of any disputed terms within a patent claim is exclusively within

 the province of the court. Markman v. Westview Instr., Inc., 517 U.S. 370, 372 (1996). Although

 the ultimate issue of claim construction is a question of law, claim construction may contain

 evidentiary underpinnings; thereby involving questions of fact. Teva Pharmaceuticals USA v.

 Sandoz, Inc., 135 S.Ct. 831, 838 (2015).

        Claim terms that form key disputes between the parties require construction. O2 Micro

 Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1360 (Fed. Cir. 2008). Also, courts

 should provide clarifying constructions when they will help the jury understand the terms as used


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 in the claims (and may decline to adopt constructions that would instead cause juror confusion).

 Huawei Techs. Co. v. T-Mobile US, Inc., No. 2:16-CV-00057-JRG-RSP, 2017 U.S. Dist. LEXIS

 96097, at *33 (E.D. Tex. June 21, 2017). For claim construction courts will look to intrinsic

 evidence (claim language, specification, and prosecution history), and, if helpful and needed,

 extrinsic evidence (dictionaries, treatises, experts, and the like). Vitronics Corp. v. Conceptronic,

 Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996). “[E]xtrinsic evidence may be useful to the court, but it

 is unlikely to result in a reliable interpretation of patent claim scope unless considered in the

 context of the intrinsic evidence.” Phillips v. AWH Corp., 415 F.3d 1303, 1319 (Fed. Cir. 2005)

 (en banc).

        With respect to the written description, i.e., the patent specification, it is “entirely

 appropriate for a court, when conducting claim construction, to rely heavily on the written

 description for guidance as to the meaning of the claims.” Phillips, 415 F.3d at 1317. “[W]e cannot

 look at the ordinary meaning of [a] term … in a vacuum. Rather, we must look at the ordinary

 meaning in the context of the written description and the prosecution history.” Id. at 1313.

        Extrinsic evidence “may be useful to the court, but it is unlikely to result in a reliable

 interpretation of patent claim scope unless considered in the context of the intrinsic evidence.”

 Phillips, 415 F.3d at 1319. It “cannot be used to alter a claim construction dictated by a proper

 analysis of the intrinsic evidence.” On-Line Tech. v. Bodenseewerk Perkin-Elmer GmbH, 386 F.3d

 1133, 1139 (Fed. Cir. 2004); see also VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1317 (Fed

 Cir. 2014). “Claim constructions that read out a preferred embodiment are rarely, if ever, correct.”

 Danco, Inc. v. Fluidmaster, Inc., No. 5:16-cv-73-JRG-CMC, 2017 U.S. Dist. LEXIS 155936, at

 *17 (E.D. Tex. Sep. 22, 2017) (citing Vitronics, 90 F.3d at 1583-84).




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 IV.    LEVEL OF ONE OR ORDINARY SKILL IN THE ART

        Consistent with Plaintiff’s P.R. 4-3 disclosures, with regard to the Patents-in-Suit, “a

 person of ordinary skill in the art (“POSA”) would be an individual who, as of October 8, 2009,

 the filing date of the provisional application, had a Master’s Degree or higher in the field of

 Electrical Engineering, Computer Engineering, or Computer Science or as of that time had a

 Bachelor’s Degree in the same fields and two or more years of experience in Internet

 communications.” Rhyne Declaration at ¶ 4.

 V.     AGREED UPON TERMS FOR CONSTRUCTION

        The parties jointly ask the Court to include these constructions in its order:

  Claim Term / Phrase                                          Agreed Proposed Construction

  Preamble                                                     Limiting

  ’319 Pat. Claim 1; ’510 Pat. Claim 1; ’614 Pat. Claim 1

  “web server”                                                 Plain and ordinary meaning

  ’510 Pat. Claims 1 and 16; ’614 Pat. Claims 1 and 29

  “receiving, from the second server, the first content        Plain and ordinary meaning
  identifier”

  ’319 Pat. Claim 1

  “during, as part of, or in response to, a start up”          Plain and ordinary meaning

  ’319 Pat. Claim 2

  “during, as part of, or in response to, a start up or        Plain and ordinary meaning
  power-up”

  ’510 Pat. Claim 2

  “in response to connecting to the Internet”                  Plain and ordinary meaning

  ’614 Pat. Claim 1

  “connected to the Internet”                                  Plain and ordinary meaning



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     ’614 Pat. Claim 1

     “performing a task, by the client device, in response        Plain and ordinary meaning
     to the receiving of the request from the first server”

     ’614 Pat. Claim 1

     “above or below the threshold”                               Plain and ordinary meaning

     ’614 Pat. Claim 17

     “hardware component”                                         Plain and ordinary meaning

     ’614 Pat. Claims 18, 19 and 20

     “message that comprises a status”                            Plain and ordinary meaning

     ’614 Pat. Claim 25 and 26


 VI.       DISPUTED TERMS FOR CLAIM CONSTRUCTION

           A.      Client Device (First Family)

      Claim Term                              Plaintiff’s Proposal       Defendant’s Proposal
      “Client device”                         “Consumer computer”        Plain and ordinary
                                                                         meaning
      (’319 Pat., cl. 1, 2, 14, 17, 22, 24,
      and 25; ’510 Pat., cl. 1, 2, 8, 10,
      13, 15, 18, and 19)

           The term “client device” is defined in the patent specification of the ’319 and ’510 Patents:

 “In the network 50, files are stored on computers of consumers, referred to herein as client devices

 60.” Ex. A at 2:44-46. 2 Dr. Rhyne has provided his opinion that as to the claims of the patents-in-

 suit “a POSA would understand the term ‘client device’ to refer to a consumer computer.” Rhyne

 Declaration, Ex. D at ¶ 6.




 2
   For simplicity, all references to the shared specification of the First Family will be made to the
 specification of the ’319 Patent, but will be understood to include the corresponding citation
 from the ’510 Patent.


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        Consistent with this definition, figure 3 illustrates a communication network 100 showing

 “client” 100, “peers” 112, 114, and 116, “agent” 122, “web server” 152, and “acceleration server”

 162, which has a “storage device” 164. Ex. A at Fig. 3. The specification clearly distinguishes

 between (a) “communication devices” of the client/peer/agent, (b) a web server, and (c) an

 acceleration server. The specification further describes the communication devices as serving as a

 “client,” “peer” or “agent” depending upon the requirements of the network.

        The present system and method provides for faster and more efficient data
        communication within a communication network. An example of such a
        communication network 100 is provided by the schematic diagram of FIG. 3. The
        network 100 of FIG. 3 contains multiple communication devices. Due to
        functionality provided by software stored within each communication device,
        which may be the same in each communication device, each communication device
        may serve as a client, peer, or agent, depending upon requirements of the network
        100, as is described in detail herein. It should be noted that a detailed description
        of a communication device is provided with regard to the description of FIG. 4….

        The communication network 100 also contains a Web server 152. The Web server
        152 is the server from which the client 102 is requesting information and may be
        for example, a typical HTTP server, such as those being used to deliver content on
        any of the many such servers on the Internet. It should be noted that the server 152
        is not limited to being an HTTP server. In fact, if a different communication
        protocol is used within the communication network, the server may be a server
        capable of handling a different protocol….

        The communication network 100 further contains an acceleration server 162 having
        an acceleration server storage device 164.

        Id. at 4:43-64 (emphasis added); see also e.g. Id. at 12:33-56.

        Dr. Rhyne uses figure 3 to explain that “a POSA would also understand client 102 and

 agent 122 to both be client devices operating as a ‘client’ and an ‘agent’ respectively.” Ex. D at ¶

 6. This is further supported by Figure 6 3, which shows the “communication device” as comprising

 a ‘client module,’ ‘peer module’ and ‘agent module.’ Ex. A at Fig. 6


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   Figure 6 is a schematic diagram illustrating elements of the acceleration application of Figure 5,
 which is a schematic diagram illustrating the memory of Figure 4, which is a schematic diagram
 illustrating a communication device of the communication network of Figure 3. Ex. A at 4:6-13.


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        FIG. 6 is a schematic diagram further illustrating elements of the acceleration
        application 220, as well as communication paths of the acceleration application
        220. The acceleration application 220 contains an acceleration system initializer
        module 222, which is called when the acceleration application 220 is started. The
        acceleration system initializer module 222 is capable of initializing all elements of
        the communication device 200 The acceleration application 220 also contains three
        separate modules that run in parallel, namely, a client module 224, a peer module
        226, and an agent module 228, each of which comes into play according to the
        specific role that the communication device 200 is partaking in the communication
        network 100 at a given time. The role of each module is further described herein.

        The client module 224 provides functionality required when the communication
        device 200 is requesting information from the Web server 152, such as, for
        example, but not limited to, Web pages, data, video, or audio. The client module
        224 causes the communication device 200 having the client module 224 therein to
        intercept the information request and pass the information request on to other
        elements of the communication network 100, such as, servers, agents or peers. This
        process is further described in detail herein.

        Ex. A at 9:13-36.

        Defense expert Dr. Freedman provided a declaration with Defendants’ P.R. 4-3 disclosures

 that confirm a “client device” can be a client, peer or agent. However, Defendants then improperly

 interpret this term broadly to be a “general purpose computer,” which Defendants improperly



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 assert includes servers. Id. at ¶ 23. Such a construction is contrary to the clear language of the

 claims as further clarified in the specifications and prosecution histories, which distinguish the

 “client device” from servers, namely the “first server,” “second server,” and/or “web server” of

 the claims. This interpretation is also contrary to the specification as shown above, which

 distinguishes between communication devices with the functionality of a client/peer/agent and the

 servers of the network in these patents. See also e.g. Ex. A at Fig. 1.

        Consistent with the claim language, the definition provided by the specification and the

 detailed discussion therein, a “client device” should be construed to mean “consumer computer.”

        B.       First Server (First Family)

    Claim Term                           Plaintiff’s Proposal          Defendant’s Proposal
    “First server”                       “Web server”                  Plain and ordinary
                                                                       meaning
    (’319 Pat., cl. 1, 21)

        Based on the plain language of the preamble, which both sides agree is limiting, the first

 server must be a web server. Ex. A at 19:17 (“… a first server that comprises a web server….”).

 Furthermore, a POSA would understand the first server to be a web server. Ex. D at ¶ 7. Consistent

 with the claim language, the “first server” of the ’319 Patent is the “web server” in the server –

 client device – web server architecture of the claims. (In contrast, the ’614 Patent uses “first

 server” as the “server.”) Construing the “first server” of the ’319 Patent as a “web server,”

 consistent with the other Asserted Patents, would be helpful to the jury by minimizing jury

 confusion. Huawei, 2017 U.S. Dist. LEXIS at *33.

        C.       Second Server (First Family)

    Claim Term                           Plaintiff’s Proposal          Defendant’s Proposal
    “Second server”                      “A server that is not the     Plain and ordinary
                                         client device or first        meaning
    (’391 Pat., cl. 1, 2, 17, 21, 24,    server”
    and 25)


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    Claim Term                             Plaintiff’s Proposal         Defendant’s Proposal
    “Second server”                        “A server that is not the    Plain and ordinary
                                           client device or web         meaning
    (’510 Pat., cl. 1, 2, 8, 15, and 18)   server”


        The ’391 and ’510 Patent claims clearly distinguish between “servers” and “client devices.”

        1. A method for use with a first client device, for use with a first server that
        comprises a web server that is a Hypertext Transfer Protocol (HTTP) server that
        responds to HTTP requests, the first server stores a first content identified by a first
        content identifier, and for use with a second server, the method by the first client
        device comprising….

        Ex. A at 19:16-21.

        1. A method for use with a web server that responds to Hypertext Transfer Protocol
        (HTTP) requests and stores a first content identified by a first content identifier, the
        method by a first client device comprising:
               establishing a Transmission Control Protocol (TCP) connection with a
        second server;

        Ex. B at 19:18-23.

        It would assist the jury to clarify that each server and the client device is its own device.

 Huawei, 2017 U.S. Dist. LEXIS at *33. As discussed above, a “client device” of the First Family

 is defined in the specification as a “consumer computer” distinct and separate from the servers of

 the Asserted Patents. Ex. A at 2:44-46. The claims clearly distinguish the “client device” from the

 servers. In addition, the specification also consistently distinguishes between the client devices

 and servers of the communication network. See e.g. Id. at 4:43-64. (“The network 100 of FIG. 3

 contains multiple communication devices. Due to functionality provided by software stored within

 each communication device, which may be the same in each communication device, each

 communication device may serve as a client, peer, or agent, depending upon requirements of the

 network 100, as is described in detail herein….The communication network 100 also contains a

 Web server 152…. The communication network 100 further contains an acceleration server 162

 having an acceleration server storage device 164.”). In Dr. Rhyne’s opinion, “a POSA would


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 understand the “second server” to be a server that is not the client device or the first server in the

 context of the ’319 Patent, and a server that is not the client device or web server in the context of

 the ’510 Patent.” Ex. D at ¶ 7 (emphasis in original).

         As discussed above with regard to “client device,” Defendants request a construction of

 “plain and ordinary meaning” but assert that “client device” and “server” are interchangeable

 general use computers. For the same reasons provided above, this interpretation is contrary to the

 clear language of the patent claims and disclosure in the specification. “Second Server” should be

 construed as “[a] server that is not the client device or first server” or “[a] server that is not the

 client device or web server” for the ’319 and ’510 Patents respectively.

         D.      Client Device (Second Family)

    Claim Term                              Plaintiff’s Proposal          Defendant’s Proposal
    “Client device”                         “A device using a client      Plain and ordinary
                                            dedicated operating           meaning
    (’614 Pat., cl. 1, 2, 4, 5, 6, 9, 15,   system and operating in
    18, 19, 25, and 28)                     the role of a client by
                                            requesting services,
                                            functionalities, or
                                            resources from servers”


         As with the ’319 and ’510 Patents, the ’614 Patent recites a method that employs the same

 server – client device – web server architecture with steps performed by the client device.

 Independent claim 1 claims:

         1. A method for use with a resource associated with a criterion in a client device
         that communicates with a first server over the Internet, the client device is
         identified in the Internet using a first identifier and is associated with first and
         second state according to a utilization of the resource, the method comprising…
                 wherein the method is further configured for fetching over the Internet a
         first content identified by a first content identifier from a web server that is distinct
         from the first server, and the task comprising….




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        In the case of Luminati Networks Ltd. v UAB Tesonet et al., case no. 2:18-cv- 299 (“Tesonet

 Case”), the Court issued a claim construction order regarding another patent in the same family

 and sharing the same specification, finding “client device” to mean “a device that is operating in

 the role of a client by requesting services, functionalities, or resources from other devices.” Ex. F,

 Tesonet Case at ECF 121 at 51. Here, Defendants request the Court to simply enter a construction

 of plain and ordinary meaning to leave them free to assert that client devices and servers are

 interchangeable general use computers. This position is clearly inconsistent with the claim

 language, specification and ’614 patent prosecution history. Consequently, Luminati asks for a

 claim construction clarifying that client devices use a client dedicated operating system.

        During prosecution of the ’614 Patent, the inventor took clear positions overcoming prior

 art by distinguishing client devices from server devices. For example in the inventor’s May 15,

 2019 response to an office action (“Action”), the inventor asserted the following argument:

        “Client vs. server actions.

        The Action is based on the Sigurdsson reference to teach the limitations of "A
        method for use with a resource associated with a criterion in a client device that
        communicates with a server over the Internet, the client device is identified in the
        Internet using a first identifier and is associated with first and second state
        according to a utilization of the resource, the method comprising ... sending, by the
        client device, the first identifier to the server over the Internet; periodically or
        continuously determining, by the client device, whether the resource utilization
        satisfies the criterion; responsive to the determining that the utilization of the
        resource satisfies the criterion, shifting, by the client device to the first state or
        staying in the first state; responsive to the determining that the utilization of the
        resource does not satisfy the criterion, shifting, by the client device to the second
        state or staying in the second state; ...”. (Emphasis added).

        However, the Action equates the various recited steps to action performed by the
        server device 106, which is clearly a server device and NOT a client device. The
        Sigurdsson reference is silent regarding any client device associated with a resource
        or with a criterion as recited in the claim, the Sigurdsson reference is silent
        regarding any client device periodically or continuously determining a state based
        on the resource and any criterion, and is further silent regarding any shifting
        between states of any client device, as recited in the claim.”



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         See. e.g. Ex. E at LUM-00148121-22. (emphasis in original).

         The patentee distinguished between “client devices” and “servers” consistent with the

 language of the ’614 patent claims, and the prosecution history disavows the broader claim scope

 that Defendants would apply under their version of “plain and ordinary meaning.” See Rheox, Inc.

 v. Entact, Inc., 276 F.3d 1319, 1325 (Fed. Cir. 2002) (“The prosecution history limits the

 interpretation of claims so as to exclude any interpretation that may have been disclaimed or

 disavowed during prosecution in order to obtain claim allowance.”) (quoting Standard Oil Co. v.

 Am. Cyanamid Co., 774 F.2d 448, 452 (Fed. Cir. 1985); Poly-America, L.P. v. API Indus., Inc.,

 839 F. 3d 1131, 1136-37 (Fed. Cir. 2016) (arguments in prosecution history may disavow broader

 claim scope).

         Luminati’s proposed claim construction is also consistent with the ’614 Patent

 specification, which discloses that “[a] client device (in server/client architecture) typically

 receives information resources, services, and applications from servers, and is using a client

 dedicated or oriented operating system.” Ex. C at 7:6-9; see also Id. at 75:35-59 (“Each of the

 network elements herein, such as the first, second, and third servers, may store, operate, or use, a

 server operating system … Each of the network elements herein, such as the first, second, and third

 devices, may store, operate, or use, a client operating system…”); see also, e.g. Ex. C at Abstract;

 4:40-8:59; 7:6-26; 52:48-51; 62:33-40; 75:35-59; 83:4-15; 95:4-61. Consistent with the patent

 prosecution history and this disclosure, in Dr. Rhyne’s opinion, “a POSA would understand the

 term “client device” to refer to “a device using a client dedicated operating system and operating

 in the role of the client by requesting services, functionalities, or resources from servers.” Ex. D at

 ¶ 31.




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        In contrast, Defendants assert that client devices are general purpose computers and

 improperly construe “client device” as including “servers.” This argument is inconsistent with the

 ’614 Patent prosecution history and the express claim language involving a server – client device

 – web server architecture. Similar to the ’319 and ’510 Patents, the client device of the ’614 Patent

 can serve as a client or tunnel depending upon the needs of the network. Ex. C at 52:48-51, 125:38-

 51. However, the patents distinguish between client devices and servers. See e.g. Ex. C at 83:4-14

 (“Each of devices herein may consist of, include, be part of, or be based on, a part of, or the whole

 of, the computer 11 or the system 100 shown in FIG. 1. Each of the servers herein may consist of,

 may include, or may be based on, a part or a whole of the functionalities or structure (such as

 software) of any server described in the ’604 Patent, such as the web server, the proxy server, or

 the acceleration server. Each of the clients or devices herein may consist of, may include, or may

 be based on, a part or a whole of the functionalities or structure (such as software) of any client or

 device described in the ’614 Patent, such as the peer, client, or agent devices”); see also 75:35-59.

        For the reasons addressed above, a POSA would understand that a client device is not

 interchangeable with a server. Ex. D at ¶ 31.

        E.       First Server (Second Family)

    Claim Term                           Plaintiff’s Proposal           Defendant’s Proposal
    “First server”                       “A server that is not the      Plain and ordinary
                                         client device or web           meaning
    (’614 Pat., cl. 15)                  server”

        For the same reasons discussed above with regard to “client device,” the claims,

 specification and patent prosecution history of the ’614 Patent distinguishes between “client

 devices” and “servers” in the claimed method utilizing the server – client device – web server

 architecture. In Dr. Rhyne’s opinion, as used in this patent “a POSA would understand the “first




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 server” to be a server that is not the client device or the web server” in the context of the ’614

 Patent.” Ex. D at ¶ 32 (emphasis in original).

        As discussed above with regard to “client device,” Defendants request a construction of

 “plain and ordinary meaning,” while asserting that “client device” and “server” are interchangeable

 general use computers. For the same reasons provided above, this interpretation is contrary to the

 clear language of the patent claims and disclosure in the specification. “First Server” in the context

 of the ’614 Patent should be construed as “[a] server that is not the client device or web server.”

 VII. THE “INDEFINITENESS” ARGUMENTS MADE BY DEFENDANTS DO NOT
 REALLY RELATE TO INDEFINITENESS AND ARE NOT CLAIM CONSTRUCTION
 DISPUTES

        In addition to the above claim construction issues, Defendants have raised a number of

 additional issues they assert are related to indefiniteness. Plaintiff disagrees. Following Nautilus,

 35 U.S.C. § 112 requires that “a patent’s claims, viewed in light of the specification and

 prosecution history, inform those skilled in the art about the scope of the invention with reasonable

 certainty.”   Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129 (2014).           “A

 determination of claim indefiniteness is a legal conclusion that is drawn from the court’s

 performance of its duty as the construer of patent claims.” Datamize, LLC v. Plumtree Software,

 Inc., 417 F.3d 1342, 1347 (Fed. Cir. 2005) (citations and internal quotation marks omitted),

 abrogated on other grounds by Nautilus, 134 S. Ct. 2120.

        All issued patents are presumed valid. 35 U.S.C. § 282. Thus, the party challenging validity

 based on indefiniteness “has the burden of persuasion to show by clear and convincing evidence.”

 Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d 1316, 1329 (Fed. Cir. 2008). If the claim

 language “inform[s], with reasonable certainty, those skilled in the art about the scope of the

 invention[,]” it is not indefinite. Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2124

 (2014). Additionally, a patent claim is not indefinite if “someone working in the relevant technical


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 field could understand the bounds of a claim.” Traxxas LP v. Hobby Prods. Int’l, No. 2:14-CV-

 945-JRG-RSP, 2015 U.S. Dist. LEXIS 114148, at *8 (E.D. Tex. Aug. 27, 2015) (emphasis added).

 Many of Defendant’s indefiniteness challenges rely on antecedent basis arguments, but “[a] claim

 that is amenable to construction is not invalid on the ground of indefiniteness.” Energizer

 Holdings, Inc. v. Int’l Trade Comm’n, 435 F.3d 1366, 1371 (Fed. Cir. 2006) (finding a claim not

 indefinite despite the absence of explicit antecedent basis). “[C]lose questions of indefiniteness in

 litigation involving issued patents are properly resolved in favor of the patentee.” Bancorp Servs.

 L.L.C. v. Hartford Life Ins. Co., 359 F.3d 1367, 1372 (Fed. Cir. 2004).

        Furthermore, a finding of indefiniteness during claim construction is disfavored. Gilead

 Scis. v. Mylan Inc., No. 1:14CV99, 2015 U.S. Dist. LEXIS 44558, at *5-8 (N.D.W. Va. Apr. 6,

 2015) (“Generally, ‘the weight of the jurisprudence disfavors indefiniteness determinations at

 the Markman stage of patent litigation.’”). Instead, courts construe terms to have definite meaning

 if at all possible. This is in part due to the claim construction principle that claims will be construed

 in a manner to maintain their validity if possible. Tate Access Floors, Inc. v. Interface Architectural

 Res., Inc. 279 F.3d 1357, 1367 (Fed. Cir. 2002).

         Defendants raise their issues as Markman disputes over claim construction. However,

 Defendants have not asserted that any of the following claims lack meaning, so there is no

 basis for the Court to find indefiniteness, so for each, the Court should simply find the claim

 “not indefinite.” Alternatively, based on the law in this area, the Court should find that the claims

 do not violate the statutory provisions as argued by Defendants.

         A.      Not Indefinite: “The First IP Address” / “The First Client IP Address”

    Claim Term                             Plaintiff’s Proposal           Defendant’s Proposal
    “First IP address”                     Not Indefinite / Plain and     Indefinite
                                           ordinary meaning
    (’319 Pat., cl. 2)


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    Claim Term                             Plaintiff’s Proposal           Defendant’s Proposal
    “First client IP address”              Not Indefinite / Plain and     Indefinite
                                           ordinary meaning
    (’510 Pat., cl. 2)

         Dependent claim 2 of the ’319 and ’510 Patents claim:

         2. The method according to claim 1, wherein the first client device is identified by
         a Media Access Control (MAC) address or a hostname, and wherein the method
         further 35 comprising sending, by the first client device, during, as part of, or in
         response to, a start-up of the first client device, a first message to the second server,
         and wherein the first messages comprises the first [client] IP address, the MAC
         address, or the hostname.”

         The terms “first IP address” and “first client IP address” in the ’319 and ’510 Patent claim

 respectively are not indefinite. While Dr. Freedman opines that a POSA would not understand

 what the first IP address refers to due to lack of antecedent basis, it is clear from the claim language

 itself that it refers to the first client device. From the context of the claim, the first [client] IP

 address identifies the “first client device,” which is consistent with the list of terms “the first

 [client] IP address, the MAC address, or the hostname.”

         In prior litigation between the parties, Defendants similarly attempted to assert

 indefiniteness for a variety of terms. See e.g. Ex. F at 55. Following Nautilus, the Court held that

 was not appropriate when “the patent claims, viewed in light of the specification and prosecution

 history, informed a [POSA] about the scope of the claim with reasonable certainty.” Nautilus, 134

 S. Ct. at 2129. The claim scope is thus “reasonabl[y] certain[]” as to the “first [client] IP address”

 being the IP address of the client device. Id. “A claim that is amenable to construction is not invalid

 on the ground of indefiniteness.” Energizer Holdings, 435 F.3d at 1371 (finding a claim not

 indefinite despite the absence of explicit antecedent basis). As Dr. Rhyne stated in his declaration,

 “a POSA would understand from the context of the claim that the plain and ordinary meaning of

 the “first IP address” is the IP address for the first client device and, hence, in my opinion would

 not find this term indefinite.” Ex. D at ¶ 15. The same applies equally to “first client IP address.”


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        B.     Not Indefinite: “Determining, By The First Client Device, That The Received
        First Content, Is Valid” / “The Determining Is Based On The Received HTTP
        Header According To, Or Based On IETF RFC 2616”

    Claim Term                           Plaintiff’s Proposal          Defendant’s Proposal
    “Determining, by the first client    Not Indefinite / Plain and    Indefinite
    device, that the received first      ordinary meaning
    content, is valid”

    (’319 Pat., cl. 14; ’510 Pat., cl.
    10)
    “The determining is based on the     Not Indefinite / Plain and    Indefinite
    received HTTP header according       ordinary meaning
    to, or based on, IETF RFC 2616”

    (’319 Pat., cl. 15; ’510 Pat., cl.
    11)

        These terms are briefed together because they both refer to validation, with the second term

 being dependent on the first.

        Dependent claim 14 of the ’319 and claim 10 of the ’510 Patents claim:

        The method according to claim 1, further comprising determining, by the first client
        device, that the received first content, is valid.

        Dependent claim 15 of the ’319 and claim 11 of the ’510 Patents claim:

        The method according to claim 14, wherein the determining is based on the
        received HTTP header according to, or based on, IETF RFC 2616.

        The above terms are not indefinite. The first term specifies that the “first client device”

 determines that the received first content is valid. In the opinion of Dr. Rhyne, based on the plain

 and ordinary meaning of the term “valid,” “a POSA would understand the scope of this term to be

 definite.” Ex. D at ¶ 17; see e.g. Ex. A at 14:32-38 (“[i]n addition to determining if the selected

 agent contains an entry for this request in its database, the selected agent may also determine if

 this information is still valid. Specifically, the selected agent determines whether the data that is

 stored within the memory of the selected agent or the memory of the peers, still mirrors the

 information that would have been received from the server itself for this request.”), see also Ex. A


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 at Fig 12, 14:24-51, 14:62-15:11, and 16:12-46. In addition, a POSA would understand this claim

 to incorporate the second term from the dependent claim that further narrows the scope of the first

 term by specifying that the determining is based on the received HTTP header according to, or

 based on, IETF RFC 2616. Consequently, these terms are not indefinite as “someone working in

 the relevant technical field could understand the bounds of a claim.” Traxxas LP, 2015 U.S. Dist.

 LEXIS at *8. “[B]readth is not indefiniteness.” BASF Corp. v. Johnson Matthey Inc., 875 F.3d

 1360, 1367 (Fed. Cir. 2017) (quoting SmithKline Beecham Corp. v. Apotex Corp., 403 F.3d 1331,

 1341 (Fed. Cir. 2005)).

        Defendants assert that the term “the determining is based on the received HTTP header

 according to, or based on, IETF RFC 2616” is indefinite for lack of antecedent basis for “the

 received HTTP header.” However, claims 15 and 11 depend on claims 14 and 10, which claim

 “the first received content.” Further, the preamble of claim 1, specifically identifies the “web

 server” that responds to HTTP requests and stores “first content identified by a first content

 identifier.” In Dr. Rhyne’s opinion, “a POSA would understand that the term “received HTTP

 header” refers to a HTTP header associated with the “first content,” which is consistent with the

 disclosure in the shared specification. See e.g. ’319 Patent at 14:32-38, 14:24-51, 14:62-15:11, and

 16:12-46.” Ex. D at ¶ 19. “A claim that is amenable to construction is not invalid on the ground of

 indefiniteness.” Energizer Holdings, 435 F.3d at 1371 (finding a claim not indefinite despite the

 absence of explicit antecedent basis). Consequently, neither term is indefinite.

        C.       Not Indefinite: “Periodically Communicating”

    Claim Term                              Plaintiff’s Proposal         Defendant’s Proposal
    “Periodically communicating”            Not Indefinite / Plain and   Indefinite
                                            ordinary meaning
    (’319 Pat., cl. 17; ’510 Pat., cl. 8)

        Dependent claim 17 of the ’319 Patent claims:



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         The method according to claim 1, further comprising periodically communicating
         between the second server and the first client device.

         Dependent claim 8 of the ’510 Patent claims:

         The method according to claim 1, further comprising periodically communicating
         over the TCP connection between the second server and the first client device.

         The above terms are not indefinite. Defendants assert that “periodically communicating”

 must limit the number of communications or the interval in time between communications to be

 definite. That is not true. Defendants are confusing breadth with definiteness, but “breadth is not

 indefiniteness.” BASF Corp. 875 F.3d at 1367. For example, a POSA would understand the scope

 of the above terms to be broader than the scope of dependent claim 18 of the ’319 Patent and claim

 8 of the ’510 Patent. See e.g. Ex. A at claim 18 (“The method according to claim 17, wherein the

 periodically communicating comprises exchanging ‘keep alive’ messages.”). However, the

 narrower scope of these dependent claims do not render the broader claims indefinite. If the claim

 language “inform[s], with reasonable certainty, those skilled in the art about the scope of the

 invention[,]” it is not indefinite. Nautilus, 134 S. Ct. at 2124. A POSA would understand

 “periodically communicate” to be consistent with the plain and ordinary meaning of the term. Ex.

 D at ¶ 21. Based on dependent claims 18 of the ’319 Patent and claim 8 of the ’510 Patent, a POSA

 would further understand “periodically communicating” as including “exchanging ‘keep alive’

 messages.” In Dr. Rhyne’s opinion, “a POSA would not find this term indefinite.” Ex. D at ¶ 21.

         D.     Not Indefinite: “In Response To The Receiving Of The First Content
         Identifier”

    Claim Term                          Plaintiff’s Proposal         Defendant’s Proposal
    “In response to the receiving of    Not Indefinite / Plain and   Indefinite
    the first content identifier”       ordinary meaning

    (‘510 pat., cl. 1)

         Claim 1 of the ’510 Patent includes the following:



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         sending the received first content, to the second server over the established TCP
         connection, in response to the receiving of the first content identifier.

         Defendants argue that this term is indefinite for lacking an antecedent basis for the term

 “in response to the receiving of the first content identifier.” However, the preamble of claim 1

 clearly identifies “a web server that … stores a first content identified by a first content identifier.”

 There is no lack of antecedent basis for the first content identifier. The claim also clearly states

 that the received first content is sent “in response to the receiving of the first content identifier.”

 “[A] POSA would understand that the claims including use of this phrase are definite.” Ex. D at ¶

 23. Defendants assert that the claim must include a separate antecedent receiving step, the patent

 claims, viewed in light of the specification and prosecution history, inform a POSA about the

 “scope of the claim with reasonable certainty.” Nautilus, 134 S. Ct. at 2129; see also Energizer

 Holdings, 435 F.3d at 1371 (finding a claim not indefinite despite the absence of explicit

 antecedent basis). In Dr. Rhyne’s opinion, “[w]hile a POSA would certainly understand that

 additional steps could occur involving the receiving of the first content identifier, and dependent

 claim 15 adds such a step of ‘receiving, by the first client device from the second server over the

 established TCP connection, the first content identifier,’ in my opinion this claim only requires

 that the sending of the received first content occur ‘in response to the receiving of the first content

 identifier.’ Thus, a POSA would not understand this claim as indefinite.” Ex. D at ¶ 23.

         E.     The Sending Of The Hypertext Transfer Protocol (HTTP) Request /
         Receiving And Storing Of The First Content / The Sending Of The Part Of, Or The
         Whole Of, The Stored First Content

    Claim Term                             Plaintiff’s Proposal           Defendant’s Proposal
    “The sending of the hypertext          Not Indefinite / Plain and     Indefinite
    transfer protocol (HTTP)               ordinary meaning
    Request”

    (‘510 pat., cl. 13)




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    Claim Term                            Plaintiff’s Proposal           Defendant’s Proposal
    “Receiving and storing of the         Not Indefinite / Plain and     Indefinite
    first content”                        ordinary meaning

    (‘510 pat., cl. 13)
    “The sending of the part of, or       Not Indefinite / Plain and     Indefinite
    the whole of, the stored first        ordinary meaning
    content”

    (‘510 pat., cl. 13)

        Claim 13 of the ’510 Patent claims:

        13. The method according to claim 1, for use with a software application that includes
        computer instructions that, when executed by a computer processor, cause the processor to
        perform the sending of the Hypertext Transfer Protocol (HTTP) request, the receiving and
        storing of the first content, the receiving of the first content identifier, and the sending of
        the part of, or the whole of, the stored first content, the method is further preceded by:
                downloading, by the first client device from the Internet, the software application;
        and
                installing, by the first client device, the downloaded software application.


        Defendants assert that the above terms are indefinite for lacking an antecedent basis.

 However, “[a] claim that is amenable to construction is not invalid on the ground of

 indefiniteness.” Energizer Holdings, 435 F.3d at 1371 (finding a claim not indefinite despite the

 absence of explicit antecedent basis).

        With regard to “the sending of the hypertext Transfer Protocol (HTTP) request”, in Dr.

 Rhyne’s opinion “[a] POSA would understand this dependent claim to claim a software application

 that includes computer instructions for performing its steps.” Ex. D at ¶ 25. The preamble of claim

 1 includes “a web server that responds to Hypertext Transfer Protocol (HTTP) requests and stores

 a first content identified by a first content identifier” followed subsequently by the step of “sending,

 to the web server over an Internet, the first content identifier.” A POSA would therefore

 “accordingly understand that ‘the sending of the Hypertext Transfer Protocol (HTTP) request’




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 refers to the step of “sending, to the web server over an Internet, the first content identifier.” Ex.

 D at ¶ 25. A POSA would not understand this claim as indefinite. Id.

         Similarly, with regard to “the receiving and storing of the first content,” claim 1 recites the

 first client device “receiving the first content from the web server….” The specification also

 discloses the storing of content by the client device, including in the client device’s cache. See e.g.

 Ex. C at 4:48-52; 8:7-22. “A POSA would understand from the common specification that software

 may be stored on the client device providing functionality which may include the content being

 stored by the client device, including for example in its cache. ’510 Patent at 4:48-52; 8:7-22.

 Thus, a POSA would not understand this claim as indefinite.” Energizer Holdings, 435 F.3d at

 1371.

         Similarly, with regard to “the sending of the part of, or the whole of, the stored first

 content,” claim 1 recites the first client device “sending the received first content.” The

 specification discloses the sending may be of part of or the whole of the first content. See e.g. Ex.

 C at 4:48-52; 14:62-15:6. In Dr. Rhyne’s opinion, “a POSA would understand from the common

 specification that the content can be sent in parts, such as chunks, and thus further would not

 understand this claim as indefinite. See e.g. ’510 Patent at 8:23-39.” Ex. D at ¶ 29.

         While claim 13 narrows the scope of the independent claim 1 through the above terms, that

 does not render these terms indefinite. If the claim language “inform[s], with reasonable certainty,

 those skilled in the art about the scope of the invention[,]” it is not indefinite. Nautilus, Inc., 134

 S. Ct. at 2124. “[B]readth is not indefiniteness.” BASF Corp. 875 F.3d at 1367.

         F.     The Steps Are Sequentially Executed

    Claim Term                            Plaintiff’s Proposal          Defendant’s Proposal
    “The steps are sequentially           Not Indefinite / Plain and    Indefinite
    executed”                             ordinary meaning




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   Claim Term                             Plaintiff’s Proposal           Defendant’s Proposal
   (’614 Pat., cl. 7)

        Claim 7 claims “the method according to claim 1, wherein the steps are sequentially

 executed. Claim 1 claims the following:

        1. A method for use with a resource associated with a criterion in a client device
        that communicates with a first server over the Internet, the client device is
        identified in the Internet using a first identifier and is associated with first and
        second state according to a utilization of the resource, the method comprising:
                [A] initiating, by the client device, communication with the first server
        over the Internet in response to connecting to the Internet, the communication
        comprises sending, by the client device, the first identifier to the first server over
        the Internet;
                when connected to the Internet, periodically or continuously determining
        whether the resource utilization satisfies the criterion;
                responsive to the determining that the utilization of the resource satisfies the
        criterion, shifting to the first state or staying in the first state;
                responsive to the determining that the utilization of the resource does not
        satisfy the criterion, shifting to the second state or staying in the second state;
                responsive to being in the first state, receiving, by the client device, a
        request from the first server; and
                performing a task, by the client device, in response to the receiving of the
        request from the first server,
                wherein the method is further configured for fetching over the Internet a
        first content identified by a first content identifier from a web server that is distinct
        from the first server, and the task comprising:
                [B] receiving, by the client device, the first content identifier from the first
        server;
                [C] sending, by the client device, the first content identifier to the web
        server;
                [D] receiving, by the client device, the first content from the web server in
        response to the sending of the first content identifier; and
                [E] sending, by the client device, the received first content to the first
        server.




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        Defendants assert that “sequentially executed” is indefinite, because claim 1 comprises two

 parts. There is an initial part in which the client device performs steps including an initiating step,

 followed by the determining and shifting steps, before the performance of a task should the first

 server be in the “first state.” The second

 part of the claim provides the four steps

 that comprise the performance of the

 task. The above steps are identified by

 [A], comprising the initiating and

 determining steps, followed by the

 “performing of a task,” which comprises

 steps [B] – [D]. If the claim language “inform[s], with reasonable certainty, those skilled in the art

 about the scope of the invention[,]” it is not indefinite. Nautilus, Inc., 134 S. Ct. at 2124. In Dr.

 Rhyne’s opinion, “a POSA would clearly understand from the context of the claim that each of the

 steps would be performed in the order presented therein. In other words, a POSA would understand

 the client device as performing the above bracketed steps with the additional determining and

 shifting steps performed between [A] and [B]. Therefore, a POSA would not find this term

 indefinite.” Ex. D at ¶ 36. The claim scope is thus “reasonabl[y] certain[]” as to how “the steps are

 sequentially executed.” Nautilus, 134 S. Ct. at 2129.


 VIII. CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests that the Court enter its proposed

 constructions as set forth about, and find that none of the claims is indefinite.



  Dated: September 29, 2020                          Respectfully submitted,



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